                                    REPUBLIC OF THE PHILIPPINES
                                  NATIONAL CAPITAL JUDICIAL REGION
                                       REGIONAL TRIAL COURT
                                       BRANCH 66; MAK..ATI CITY

      BLOOMBERRY RESORT AND
      HOTELS; INC., ET. AL.
                      Petitioners,

                  -versus-                                SP. PROC. NO. M-7567

      GLOBAL GAMING PHILS.,LLC;
      ET.AL.
                  Respondents.
      x------------------------------------x

                                                 ORDER
__,          Before t.his Court are the following:

                     a.      Motion for Clarification and/or Set Clarificatory Hearing Ad
                               Cautelam dated September 11, 2017 filed by Deutsche Bank AG
                               Manila Branch ('1D8 Manila");
                     b.      Comment filed by Petitioners Bloomberry Resorts and Hotels, Inc.,
                               Sureste Properties, Inc. and Prime Metroline Holdings, Inc. last
                               October 13, 2017;
                     c.      Comment filed by Respondent Global Gaming Philippines LLC
                               ("GGAM11) last October 18, 2017; and
                     d.      Consolidated Reply filed by DB Manila on November 16, 2017.

            In its Motion for Clarification, DB Manila states that it is the custodian of
      921,184,056 shares in Bloomberry Resorts Corporation acquired by Respondent
      Global Gaming Philippines LLC (the "Shares") and the dividends thereto in the sum
      of Php32�241,441. 96 (the "Dividends"). DB Manila also asserts t.hat Respondent
      GGAM filed a Claim ("HK Proceedings") against Deutsche Bank AG, Hong Kong
      Branch ("DBHK") vvith the High Court of the Hong Kong Special Administrative
      Region seeking to compel DBHK to cause the release of the Shares and the Dividends
      to Respondent GGAM. Considering that Respondent GGAM is making a claim on the
      Shares and the Dividends, DB Manila is asking this Court to rule on tl1e follo-wing
      matters:

             (a)Whether the Order dated February 25, 2014, the Injunction, the
                Attachment, and/or the Garnishment remain valid; and
             (b) VJhether the Shares and/or h1ie Dividends may be released
                Respondent GGAM.




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